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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

SYMBOLOGY INNOVATIONS LLC,                                 )
                                                           )
       Plaintiff,                                          )
                                                           ) C.A. NO. 1:18-cv-01263-RGA
       v.                                                  )
                                                           )
HONEYWELL INTERNATIONAL INC.,                              ) JURY TRIAL DEMANDED
                                                           )
       Defendant.                                          )

                        NOTICE OF DISMISSAL WITH PREJUDICE


             Plaintiff Symbology Innovations LLC, pursuant to Fed. R. Civ. P. 41 (a), hereby

provides notice that it dismisses all of its claims in this action WITH PREJUDICE. Each party

shall bear its own costs, expenses, and attorneys' fees.

 Dated: November 8, 2018                         Respectfully Submitted,

                                                 /s/Stamatios Stamoulis
                                                 Stamatios Stamoulis #4606
                                                 stamoulis@swdelaw.com
                                                 STAMOULIS & WEINBLATT LLC
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                                                 Wilmington, DE 19809
                                                 (302) 999-1540

                                                 /s/ Eugenio J. Torres-Oyola
                                                 Eugenio J. Torres-Oyola
                                                 (Admitted Pro Hac Vice)

                                                 /s/ Jean G. Vidal Font
                                                 Jean G. Vidal Font
                                                 (Admitted Pro Hac Vice)

                                                 Ferraiuoli LLC
                                                 221 Plaza, 5th Floor
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                                             ATTORNEYS FOR PLAINTIFF
                                             SYMBOLOGY INNOVATIONS LLC




                               CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a true and correct copy of the above and foregoing

document has been served on November 8, 2018, to all counsel of record who are deemed to have

consented to electronic service via the Court's CM/ECF system per Local Rule CV-5(a)(3).

                                                   /s/Stamatios Stamoulis
                                                   Stamatios Stamoulis #4606




                     IT IS SO ORDERED this ____ day of November, 2018.




                                           _______________________________
                                           UNITED STATES DISTRICT JUDGE
